14 F.3d 608
    U.S.v.Ude (Barbara J.)
    NO. 93-2082United States Court of Appeals,Eighth Circuit.
    June 22, 1993
    
      1
      Appeal From:  D.Neb.
    
    
      2
      AFFIRMED.
    
    
      3
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Eighth Circuit has prescribed criteria for publication of opinions and directs that unpublished opinions may not be cited or otherwise used except when the cases are related by virtue of an identity between the parties or the causes of action.  Eighth Circuit Rules, Rule 28A(k), 28 U.S.C.A.)
    
    